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                                                           Joshua Smith, Esq.


                                                                   October 24, 2021


                           Via CM/ECF

                           The Honorable Norman K. Moon
                           United States District Court for the Western District of Virginia
                           255 West Main Street
                           Charlottesville, Virginia 22902

                                  Re      Sines et al. v. Kessler et al., No. 3:17-cv-00072; ECF No. 1305

                           Dear Judge Moon:

                                  I concur with Mr. Kolenich‘s response (ECF No. 1307) and vehemently oppose
                           Plainti s’ eleventh-hour shenanigans (see ECF No. 1305). I write to additionally note,
                           for the record, the elephant in the room:

                                  This is totally because of the jury questionnaires.

                                   Plainti s’ counsel want to take a “mulligan” here because, prior to Friday’s nal
                           pretrial conference, they had their army of jury consultants analyze the jury
                           questionnaires, and concluded (rightly) that they have very little chance of winning their
                           case in front of the eventual jury (even with adverse inferences). In order to
                           manufacture a basis for their mulligan, they’ve been intentionally not caring about Mr.
                           Cantwell’s situation, which they’ve known about for many months now; that way, if they
                           drew an unfavorable jury pool, they could fake a sudden onset of empathy and
                           concern for Mr. Cantwell’s predicament, and bait the Court into postponing the trial
                           with their ridiculous “two Charlottesville trials” (i.e., the regular one, and then some kind
                           of Cantwell-only “mini-trial” a couple years from now) proposal.1

                                  It is also noteworthy that none of the cases Plainti s cite have anything to do
                           with a severance request made less than 48 hours before trial. Mendez v. Leu, No.
                           7:20-cv-00046, 2020 WL 534531 (W.D. Va. Feb. 3, 2020) (Moon, J.) involved (as this

                           1        Plainti s disingenuously attempt to lure the Court into a false dichotomy by claiming
                           that the only two viable options here are severance or postponement. Actually, there are two
                           other options that are just as viable, if not more so): (1) We can go forward with the trial exactly
                           as planned, or (2) the Court can sever Mr. Cantwell, but preclude Plainti s from making any
                           reference to Mr. Cantwell during this trial, using any of Mr. Cantwell’s statements (including his
                           deposition testimony) in any way against any of the remaining Defendants, etc. I suggest the
                             rst option (going forward with the trial exactly as planned), particularly because Cantwell is
                           likely a necessary party to this litigation. (See ECF No. 1307 at 1.)

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   Court is no doubt aware) a severance granted at the very beginning of the action (a
   mere 13 days after the Complaint was led, in fact). In Gregory v. FedEx Ground
   Package Sys., Inc., No. 2:10-cv-630, 2012 WL 2396873 (E.D. Va. May 9, 2012) and Lee
   v. Jones 1:14-cv-04159-JMC, 2015 WL 3767347 (D.S.C. June 17, 2015), severance
   was sought before discovery had even begun.2 Plainti s do not, nor could they, cite to
   any case in which a severance request was even entertained by a court (no less
   granted) within 48 hours of trial.


                                                         Very truly yours,




                                                         /s/ Joshua Smith
                                                         Joshua Smith, Esq.

                                                         Counsel for Defendants David Matthew
                                                         Parrott, Matthew Heimbach, and
                                                         Traditionalist Worker Party




   2     No discovery ultimately took place in Gregory because the case settled, or in Lee
   because the case was dismissed.


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